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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                    :
                                          :
CWEB LIQUIDATION, LLC                     :           CASE NO. 17-54087-lrc
f/k/a CARRIERWEB, LLC                     :
                                          :           CHAPTER 11
       Debtor                             :
_________________________________________ :

                        CHAPTER 11 PLAN OF LIQUIDATION
                            JOINTLY SUBMITTED BY:

                CWEB LIQUIDATION, LLC f/k/a CARRIERWEB, LLC
                     DEBTOR AND DEBTOR IN POSSESSION
                                    and
              THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
               OF CWEB LIQUIDATION, LLC f/k/a CARRIERWEB, LLC

                                      June 25, 2019

Attorneys for CWeb Liquidation, LLC            Attorneys for Official Committee of
f/k/a CarrierWeb, LLC                          Unsecured Creditors
G. Frank Nason, IV                             Bradford J. Sandler
Georgia Bar No. 535160                         (DE Bar No. 4142)
LAMBERTH, CIFELLI,                             Colin R. Robinson
 ELLIS & NASON, P.A.                           (DE Bar No. 5524)
1117 Perimeter Center West                     PACHULSKI STANG ZIEHL
Suite N313                                     & JONES LLP
Atlanta, Georgia 30338                         919 North Market Street
(404) 262-7373                                 17th Floor P.O. Box 8705
                                               Wilmington, DE 19899 (Courier 19801)
                                               (302) 652-4100

                                               Henry F. Sewell, Jr.
                                               Georgia Bar No. 636265
                                               LAW OFFICES OF HENRY F. SEWELL,
                                               JR., LLC
                                               2964 Peachtree Road NW, Suite 555
                                               Atlanta, Georgia 30305
                                               Direct: (404) 926-0053
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                                          Introduction

       Pursuant to Title 11 of the United States Code, CWeb Liquidation, LLC f/k/a
CarrierWeb, LLC (the “Debtor”), Chapter 11 debtor and debtor in possession, and The Official
Committee of Unsecured Creditors of CWeb Liquidation, LLC f/k/a CarrierWeb, LLC (the
“Committee”) submit and propose this “Chapter 11 Plan Jointly Submitted by: CWeb
Liquidation, LLC f/k/a CarrierWeb, LLC, Debtor and Debtor in Possession and The Official
Committee of Unsecured Creditors of CWeb Liquidation, LLC f/k/a CarrierWeb, LLC” (the
“Plan”).


                                            Article I

                                         DEFINITIONS

        Unless the context requires otherwise, the following terms shall have the respective
meanings specified below whenever used in the Plan. Capitalized terms not defined in this Plan
have the meanings ascribed to such terms in Title 11 of the United States Code and the Federal
Rules of Bankruptcy Procedure. Accounting terms not defined in the Plan shall have the
meanings ascribed to such terms in accordance with generally accepted accounting principles
currently in effect. Whenever from the context it appears appropriate, terms stated in the singular
or plural shall include the singular and the plural, and pronouns stated in the masculine,
feminine, or neuter gender shall include the masculine, the feminine, and the neuter. The words
“herein,” “hereof,” and “hereunder” and other words of similar import shall refer to this Plan as a
whole, including any and all exhibits and schedules to the Plan, as the same may be amended.

       “Administrative Claim” means a Claim for payment of an administrative expense of a
kind specified in Section 503(b) of the Bankruptcy Code and referred to in Section 507(a)(2) of
the Bankruptcy Code, including, without limitation: (a) the actual, necessary costs and expenses
of preserving the estate and administering the Case that arose or accrued or that shall arise or
accrue in the ordinary course of business during the period between the Petition Date and the
Closing Date; (b) any Professional Fee Claim; and (c) any fee or charge assessed against the
Debtor under 28 U.S.C. § 1930.

        “Allowed Administrative Claim” means all or that portion of an Administrative Claim to
the extent it has been allowed by a Final Order of the Bankruptcy Court.

        “Allowed Claim and Allowed . . . Claim” means all or that portion of any Claim, other
than an Administrative Claim, against the Debtor to the extent that: (a) proof of such Claim has
been filed or is deemed filed pursuant to § 1111 of the Bankruptcy Code and is not the subject of
an objection filed by the last date set by the Bankruptcy Court for filing objections to Claims; or
(b) it has been allowed by this Plan or a Final Order of the Bankruptcy Court after objection
pursuant to the procedures established in this Plan for resolution of Disputed Claims and in

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respect of which there is no proceeding pending that asserts an Avoidance Action or Cause of
Action against the Holder of such Claim. The term “Allowed,” when used to modify a reference
in the Plan to any Claim or Class of Claims, shall mean a Claim (or any Claim in any such Class)
that is so allowed.

       “APA” means the “Asset Purchase Agreement by and between I.D. Systems, Inc. and
CarrierWeb, LLC” approved by the Sale Order.

        “Avoidance Action” means any claim or right arising out of or maintainable pursuant to
§§510, 544, 545, 546, 547, 548, 549, 550 or 553 of the Bankruptcy Code or under any other
similar applicable law, regardless of whether any action to assert such claim or right has been
commenced or asserted prior to the Effective Date.

        “Bankruptcy Code” means Title 11 of the United States Code, as amended, as applicable
to the Bankruptcy Case.

       “Bankruptcy Court” means the United States Bankruptcy Court for the Northern District
of Georgia, Atlanta Division.

        “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure and the local rules
of the Bankruptcy Court, as applicable from time to time to the Case.

       “Business Day” means a day on which commercial banks in Georgia are not required or
authorized by law to be closed.

       “CarrierWeb Ireland” means CarrierWeb Services, Ltd., a company organized under the
laws of Ireland.

       “Case” means the Debtor’s Chapter 11 bankruptcy case.

       “Cash” means lawful currency of the United States and its equivalents, provided,
however, that any distributions under this Plan will be deemed to be made in Cash if made by
check drawn on any United States bank, or by wire transfer.

       “Causes of Action” means all causes of action, choses in action, claims, rights, suits,
accounts or remedies belonging to or enforceable by the Debtor, including Avoidance Actions,
whether or not matured or unmatured, liquidated or unliquidated, contingent or non-contingent,
known or unknown, or whether in law or in equity, and whether or not specifically identified in
the Debtor’s Schedules.

       “Claim” means a claim, as defined in Section 101(5) of the Bankruptcy Code, against the
Debtor.



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        “Claims Bar Date” means: (a) with respect to Administrative Claims that accrued or were
incurred during the period commencing after the Petition Date but prior to the Confirmation Date
(other than U.S. Trustee fees or Professional Fee Claims) the first Business Day that is twenty
one (21) days after the Confirmation Date; or (b) with respect to general prepetition Claims for
which a Proof of Claim is required to be filed, June 30, 2017; or (c) with respect to prepetition
Claims of governmental units for which a Proof of Claim is required to be filed, September 5,
2017; or (d) with respect to rejection claims relating to any executory contract or unexpired lease
rejected pursuant to the terms of this Plan, the first Business Day that is twenty one (21) days
after the Confirmation Date.

       “Class” means a class of Claims or Interests as defined in this Plan.

        “Closing Cash Payment” means the net proceeds (after payment in full of the DIP Loan)
totaling $2,146,505.37 paid January 30, 2019, by IDSY pursuant to the Sale Order.

       “Closing Obligations” means any obligation of the Debtor and IDSY arising under or in
connection with the sale of the Purchased Assets pursuant to the Sale Order and arising under or
in connection with all documents executed by the Debtor and IDSY in connection with such sale.

       “Committee” means the Official Committee of Unsecured Creditors appointed on or
about March 27, 2017.

       “Confirmation Date” means the date upon which the Bankruptcy Court enters the
Confirmation Order.

        “Confirmation Hearing” means the duly noticed hearing held by the Bankruptcy Court
pursuant to Section 1128 of the Bankruptcy Code to consider confirmation of this Plan, as may
be adjourned by the Court from time to time without further notice other than announcement of
the adjourned date of the Confirmation Hearing at such hearing.

       “Confirmation Order” means the order of the Bankruptcy Court confirming this Plan.

        “Court” means the Bankruptcy Court or any other Court of the United States with
authority over the Cases or, with respect to any particular proceeding arising under or related to
the Cases, any other Court that is exercising jurisdiction over such proceeding.

       “Creditor” means the Holder of a Claim against the Debtor.

        “Cure Costs” means the $565,465.50 payable from the Closing Cash Payment to parties
on account of executory contracts and unexpired leases assumed and assigned to IDSY pursuant
to the Sale Order.

       “Debtor” means CWeb Liquidation, LLC f/k/a CarrierWeb, LLC.


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        “Designated Notice” means notice and an opportunity for a hearing as described in
Section 102(a) of the Bankruptcy Code. Following entry of the Confirmation Order and through
the date of entry of a Final Decree, the time for the giving of any notice shall be reduced to ten
(10) Business Days, and notice shall be limited to the Notice Parties. When a party gives
Designated Notice and no written objection is served within 10 Business Days of service, the
party to whom Designated Notice is given shall be presumed to have consented to or have no
opposition to the relief or request identified in the Designated Notice. If a timely objection is
served, the Court will hold a hearing on the objection on no less than seven (7) days’ notice.

       “DIP Loan” means the loan from IDSY to Debtor pursuant to the “Final Order
Authorizing Financing and Granting Senior Liens” entered January 11, 2019, at Docket No. 171.

       “Disclosure Statement” means the Disclosure Statement filed with respect to this Plan, as
approved by the Court and as may be further amended or modified.

       “Disputed Claim or Disputed . . . Claim” means a Claim that (a) is not an Allowed Claim
or (b) is the subject of a Cause of Action or objection and that has not been allowed or
disallowed by a Final Order.

       “Distribution” means a distribution of Cash to a Claimant on account of an Allowed
Claim pursuant to the terms of this Plan.

        “Distribution Date” means any date on which distributions of Cash are to be made from
the Distribution Fund.

        “Distribution Fund” means the account created for the purpose of making Distributions as
set forth in Article 4.01 below.

        “Effective Date” means the day that is ten (10) Business Days after the Confirmation
Date.

        “efreightrac” means efreightrac, LLC.

        “Final Decree” means a Final Order of the Bankruptcy Court closing the Case.

        “Final Order” means an order or judgment of a Court (including one approving a
settlement) entered on the docket which: (a) shall not have been reversed, stayed, modified or
amended and as to which the time to appeal from, or to seek review or rehearing of, shall have
expired and as to which no appeal or petition for review, rehearing or certiorari is pending; or (b)
if appealed from, shall have been affirmed (or the appeal dismissed) and the time to appeal from
such affirmance or to seek review or rehearing thereof shall have expired, or no further hearing,
appeal or petition for certiorari can be taken or granted.



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        “General Unsecured Claims” mean all Claims against the Debtor arising on or before the
Petition Date that are not Priority Claims or Administrative Claims.

         “Holder” means the beneficial owner of any Claim or Interest.

         “IDSY” means I.D. Systems, Inc., purchaser of the Purchased Assets pursuant to the Sale
Order.

        “Interests” means any and all ownership rights and interests in the Debtor held by the
Interest Holders as of the Petition Date.

       “Interest Holders” means efreightrac in its capacity as Holder of 72.72% of the
outstanding Interests in the Debtor and Marous in his capacity as Holder of 28.28% of the
outstanding Interests in the Debtor.

        “Lien” means any mortgage, lien, pledge, charge, security interest, encumbrance or other
legally cognizable security device of any kind affecting or attaching to property of the estate of
the Debtor.

        “Liquidating Agent” means the agent, selected by the Committee in its sole and absolute
discretion, upon whom management of the Liquidating Debtor is vested in accordance with
Article 4.02 below.

         “Liquidating Debtor” means the Debtor from and after the Effective Date.

         “Marous” means John Marous.

        “Net Proceeds” means the remaining balance of the Closing Cash Payment after payment
of all Cure Amounts and other expenditures paid or reserved as required under the Sale Order
and after payment or reserve of all other expenditures authorized by orders of the Bankruptcy
Court.

        “Notice Parties” means (i) with respect to notices served by the Debtor, counsel for the
Committee, the U.S. Trustee, and all other parties in interest who, after entry of the
Confirmation Order, have filed a request for notice with the Clerk of the Court and have served
same on the Debtor’s counsel, or (ii) with respect to notices served by a party other than the
Debtor, the Debtor and its counsel, counsel for the Committee (unless such notice is being served
by the Committee), the U.S. Trustee (unless such notice is being served by the U.S. Trustee), and
all other parties in interest who, after entry of the Confirmation Order, have filed a request for
notice with the Clerk of the Court and have served same on the Debtor’s counsel.

         “Petition Date” means March 6, 2017.



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       “Plan” means this plan proposed by the Proponents, as it may be amended or modified
from time to time, including all exhibits and reports annexed hereto or referenced herein.

       “Post-Confirmation Administrative Claims” means costs and expenses incurred, after the
Confirmation Date, in connection with administration and consummation of this Plan, including,
without limitation, Post-Confirmation Professional Fee Claims.

       “Post-Confirmation Professional Fee Claims” means Post-Confirmation Administrative
Claims for compensation earned, and reimbursement of expenses incurred, by attorneys,
accountants, or other professionals employed by the Liquidating Debtor or the Committee.

        “Pro Rata” means, with respect to any Distribution to a Class under this Plan, as of any
particular Distribution Date, proportionate sharing pursuant to which the ratio of the cumulative
amount of all funds distributed on account of an Allowed Claim to the amount of such Allowed
Claim is the same as the ratio of the cumulative amount distributed to such Class to the total
amount of all Allowed Claims and Disputed Claims classified into such Class.

       “Professional Fee Claims” means Claims for compensation earned and reimbursement of
expenses of attorneys, accountants, or other professionals employed by the Debtor or the
Committee, with approval of the Bankruptcy Court.

       “Professional Fee Trust” means the funds held in trust by counsel for the Debtor in
accordance with the “Interim Order Authorizing Financing and Granting Senior Liens” (Docket
No. 68) and “Final Order Authorizing Financing and Granting Senior Liens” (Docket No. 71) for
the purpose of paying the Professionals.

       “Priority Tax Claim” means a Claim that is entitled to priority under Section 507(a)(8) of
the Bankruptcy Code.

       “Proponents” means the Debtor and the Committee.

       “Purchased Assets” means the assets purchased by IDSY pursuant to the Sale Order, the
APA, and any documents executed in connection with the consummation of the transactions
approved by the Sale Order and contemplated under the APA.

        “Restoration Payment” means the $700,000 payment from IDSY to Debtor upon the
restoration of CarrierWeb Ireland to the Register of Companies in Ireland to the extent such
restoration occurs before May 1, 2019.

       “Sale Order” means the “Order (A) Approving Asset Purchase Agreement                  and
Authorizing the Sale of Assets of the Debtor Outside the Ordinary Course of Business,        (B)
Authorizing the Sale of Assets Free and Clear of All Liens, Claims, and Encumbrances,        (C)
Authorizing the Assumption and Sale and Assignment of Certain Executory Contracts            and


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Unexpired Leases, and (D) Granting Related Relief” entered January 27, 2019, at Docket No.
184.

        “Schedules” means the schedules of assets and liabilities and any amendments thereto
filed by the Debtors in their respective Cases pursuant to Section 521 of the Bankruptcy Code.

       “Unclaimed Property” means any funds payable to Holders of Claims from the
Distribution Fund that are unclaimed. Unclaimed Property shall include (a) checks (and the funds
represented thereby) which have been returned as undeliverable without a proper forwarding
address, (b) funds for checks which have not been presented and paid within 45 (45) days of their
issuance, and (c) checks (and the funds represented thereby) which were not mailed or delivered
because of the absence of a proper address to mail or deliver such property.

       “Unpaid Claims Reserve” means the reserve created pursuant to Section 4.03 of the Plan.

       “U.S. Trustee” means the United States Trustee for Region 21, and the office of such
United States Trustee.

                                           Article II

                        TREATMENT OF UNCLASSIFIED CLAIMS

       Pursuant to § 1122 of the Bankruptcy Code, certain Claims are unclassified. Unclassified
Claims are treated as follows:

       2.01     Administrative Claims. Allowed Administrative Claims are not classified in this
Plan and are treated as follows:

       (a)    Payment of Allowed Administrative Claims. Holders of Allowed Administrative
              Claims other than Professional Fee Claims will be paid in full in cash as soon as
              practicable after the later of the Effective Date or the date such Claim becomes an
              Allowed Administrative Claim, unless otherwise agreed to by the Holder thereof.
              Other than quarterly United States Trustee's fees, which will be paid as they come
              due, and Professional Fee Claims, which may be filed at any time prior to entry of
              a Final Decree, any request for payment of an Administrative Claim arising on or
              before the Confirmation Date must be filed no later than the Claims Bar Date or
              such Administrative Claim will be forever barred. The Liquidating Debtor and the
              Committee shall have the right to object to the allowance of any Administrative
              Claim.

       (b)    Payment of Professional Fee Claims. Professional Fee Claims with regard to the
              period prior to entry of the Confirmation Order shall be paid in the amount
              awarded pursuant to orders of the Bankruptcy Court and shall be paid in full in
              Cash as soon as practicable after the later of the Effective Date or the date such

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              Claim becomes an Allowed Administrative Claim, unless otherwise agreed to by
              the Holder thereof.

        2.02 Treatment of Other Certain Unclassified Claims. Other unclassified Claims are
treated as follows:

       (a)    Post-Confirmation Administrative Claims. Post-Confirmation Administrative
              Claims, other than Post-Confirmation Professional Fee Claims, shall be paid as
              the same come due, without the necessity of Bankruptcy Court approval. Upon
              motion of any party in interest, the Bankruptcy Court may review any payment of
              such Post-Confirmation Administrative Claims and, if appropriate, order the
              return or refund of any such payment. Until entry of a Final Decree, all Post-
              Confirmation Professional Fee Claims for period prior to the entry of a Final
              Decree shall be subject to review by the Notice Parties. A party seeking payment
              of a Post-Confirmation Professional Fee Claim shall serve (by electronic mail or
              first-class mail) its invoice on the Notice Parties. Unless one or more of the
              Notice Parties files an objection with the Bankruptcy Court within fourteen (14)
              days of the service of the invoice, the Liquidating Debtor shall be fully authorized
              without an order of the Bankruptcy Court to pay, on a monthly basis, one hundred
              percent (100%) of the fees and one hundred percent (100%) of the expenses
              incurred. If an objection is filed, then the Liquidating Debtor shall still be fully
              authorized without an order of the Bankruptcy Court to pay, on a monthly basis,
              one hundred percent (100%) of the fees and one hundred percent (100%) of the
              expenses incurred that are not the subject to an objection. The Bankruptcy Court
              shall retain jurisdiction over any objections to such fees and expenses that are
              filed and shall be authorized to determine whether to allow any disputed Post-
              Confirmation Professional Fee Claims following a hearing on no less than
              fourteen (14) days’ notice to the parties to the dispute. Following entry of a Final
              Decree, Post-Confirmation Professional Fee Claims may be paid as they come
              due.

       (b) Fees of U.S. Trustee. Any pre-confirmation fees due to the United States Trustee
           shall be paid by the Effective Date. Post-confirmation fees due the United States
           Trustee shall be paid on the date that such fees are due.

        2.03 Treatment of Executory Contracts and Unexpired Leases. Except as provided in
Article 6.01, Confirmation of the Plan shall operate as a rejection of any executory contract or
unexpired lease not assumed and assigned to IDSY pursuant to the Sale Order. Any claims for
damages arising from such rejection must be filed by the Claims Bar Date.

        2.04 Treatment of Priority Tax Clams. Holders of Priority Tax Claims shall be paid the
Allowed Amount of their Claim in full on the Effective Date. Attached hereto as Schedule 2.04
is a schedule of the Holders of the Priority Tax Claims, the amounts due thereon, and any
anticipated objections thereto. In the event of unexpected delays in the payment of any Priority

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Tax Claim, interest on such Claim shall be calculated as provided in Section 511 of the
Bankruptcy Code. The Liquidating Debtor is required to timely file returns for and timely pay all
postpetition taxes when due.




                                              Article III

                            CLASSIFICATION AND TREATMENT
                         OF CLAIMS AND INTERESTS; IMPAIRMENT

        Claims and Interests are treated as set forth below. A Claim or Interest shall be deemed
classified in a particular Class only to the extent that (a) the Claim or Interest is included within
the description of that Class, and (b) the Claim or Interest is not included in any other Class. To
the extent that any portion or remainder of the Claim or Interest qualifies within the description
of a different Class, that portion of the Claim or Interest shall be classified in that different Class.
A Claim or Interest is classified in a particular Class only to the extent that the Claim or Interest
is an Allowed Claim or Allowed Interest in that Class and has not been satisfied, disallowed or
extinguished before the Effective Date of the Plan.

        3.01 Class 1 (General Unsecured Claims). Class 1 shall consist of the Allowed General
Unsecured Claims. On the Effective Date, the Holders of Allowed General Unsecured Claims
(excluding any Claim of efreightrac) shall receive Pro Rata their share of the funds in the
Distribution Fund as provided in Article 5.02 below until such Holders receive their Allowed
Claims in full. Attached hereto as Schedule 3.01 is a schedule of the Holders of General
Unsecured Claims, the Allowed Amount of such Claims, and any anticipated or filed objections
thereto. Confirmation of the Plan shall bind any Creditor for whom no amount is payable as set
forth on Schedule 3.01, and any such Creditor shall be entitled to no Distributions under the
Plan.

        3.02 Class 2 (Interest Holders). Class 2 shall consist of the Interest Holders. The
Interest Holders will retain their Interests in the Debtor as such Interests existed as of the Petition
Date and shall receive their Pro Rata Share of the funds in the Distribution Fund after payment of
the Distribution(s) to the Holders of Class 1 Claims as provided in Article 3.01 above. To the
extent an Interest Holder has an Allowed Claim against the Debtor, any Distribution from the
Distribution Fund may be treated at such Holder’s discretion as repayment of debt.

      3.03 Impairment. Class 1 is impaired and eligible to vote on the Plan. Class 2 is
unimpaired and ineligible to vote on the Plan.


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                                            Article IV

                          MEANS FOR EXECUTION OF THE PLAN

        4.01 Establishment of Distribution Fund. The Liquidating Debtor shall establish a
segregated escrow account to be known and designated as the Distribution Fund and shall
deposit in said account the Net Sale Proceeds, the Restoration Payment, and any funds in DIP
bank accounts not expended or reserved for expenditure by the Confirmation Date. The funds in
the Distribution Fund shall be held in escrow for the sole and exclusive benefit of those parties
entitled to Distributions therefrom. The Distribution Fund may from time to time be invested in
short term certificates of deposit, short term treasury bills, or money market accounts, provided
that such deposits or investments comply with the requirements of § 345 of the Bankruptcy
Code. All interest earned shall be retained in the Distribution Fund. The Liquidating Debtor
shall be authorized to open such bank or other depository account or accounts as may be
necessary or appropriate to carry out the provisions of the Plan.

               4.02 Management. Except as otherwise provided below, upon Confirmation,
sole and exclusive management and control of the Liquidating Debtor shall be vested in the
Liquidating Agent pursuant to Section 1123(b)(3)(B) of the Bankruptcy Code, subject to the
provisions of this Plan.

       (a)    Authority of Distribution Agent. The Liquidating Agent shall be authorized and
              empowered, in his representative capacity and not individually, to act on behalf of
              the Liquidating Debtor, and to exercise the rights and powers, and perform the
              duties, of the Liquidating Debtor in accordance with the provisions of this Plan.
              Whenever, under the terms of this Plan or otherwise, the Liquidating Debtor is
              authorized or empowered to take any action or perform any duty, the Liquidating
              Agent shall have exclusive and plenary authority to take such action or perform
              such duty for and on behalf of the Liquidating Debtor, subject to the provisions of
              this Plan. Until a Final Decree is entered, the Liquidating Agent shall file on behalf
              of the Liquidating Debtor all required post-confirmation reports with the Office of
              the U. S. Trustee and shall pay all post-confirmation quarterly fees due the U. S.
              Trustee.

       (b)    Selection of Liquidating Agent. The initial Liquidating Agent shall be Brad Boe.
              Upon motion of any party in interest, the Bankruptcy Court for cause shown may
              designate some other person or entity to serve as Liquidating Agent. The
              Liquidating Agent shall be entitled to compensation and reimbursement of
              expenses in accordance with the standards applicable to professionals employed by
              a trustee set forth in Sections 330 and 331 of the Bankruptcy Code.

       (c)    Limitation on Liability of Liquidating Agent. The Liquidating Agent shall not be
              liable for any act it may do or omit to do while acting in good faith and in the
              exercise of reasonable business judgment; nor shall the Liquidating Agent be liable

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             in any event, except for its own gross negligence or willful misconduct. No
             recourse shall be had, directly or indirectly, against the Liquidating Agent
             personally, by legal or equitable proceedings or by virtue of any statute or
             otherwise.

      (d)    Dissolution of the Debtor. Following (i) entry of a Final Decree, (ii) completion of
             all Distributions from the Distribution Fund, and (iii) the completion of the
             Liquidating Agent’s duties set forth in this Plan, the Liquidating Debtor shall take
             such steps as are necessary to effect dissolution of the Debtor under Georgia law.
             The Liquidating Debtor shall be authorized to reserve from any final Distribution
             such amounts reasonably necessary to pay Post-Confirmation Administrative
             Claims and Post-Confirmation Professional Fees associated with such dissolution.
             Notwithstanding any other provision herein, upon Confirmation R. Fenton-May,
             the Debtor’s Manager and CEO, shall remain Manager and CEO of the Liquidating
             Debtor, solely to effect such dissolution, and shall not receive compensation for
             any services rendered in connection with such dissolution.

      4.03   Unclaimed Property. Unclaimed Property is treated as follows:

             (a)     Unclaimed Property shall be deposited in the Unpaid Claims Reserve to be
             held in trust for the benefit of the Holders of Allowed Claims entitled thereto
             under the terms of the Plan. For a period of one-hundred eighty (180) days
             following the first Distribution or sixty (60) days after a Distribution is made to a
             Creditor on account of which Unclaimed Property first results (said period being
             hereinafter referred to as the “Claiming Period”), Unclaimed Property shall be
             held in the Unpaid Claims Reserve solely for the benefit of the Holders of
             Allowed Claims which have failed to claim such property. During the Claiming
             Period, Unclaimed Property due the Holder of an Allowed Claim shall be released
             from the Unpaid Claims Reserve and delivered to such Holder upon presentation
             of proper proof, to the Liquidating Agent, by such Holder of its entitlement
             thereto. In the event that there is Unclaimed Property in the Unpaid Claims
             Reserve with regard to any Claim, the Liquidating Agent shall, until such
             Unclaimed Property is claimed or the Claiming Period with regard to the Holder
             of such Claim has expired, make all subsequent Distributions due with regard to
             such Claim to the Unpaid Claims Reserve. After the Claiming Period with regard
             to such Holder has expired, no subsequent Distributions shall be made on account
             of such Claim, and such Claim shall be treated as being disallowed, waived, and
             satisfied. Additionally, after Distributions are completed and the Claiming Period
             has expired with respect to all Claims, and any and all Post-Confirmation
             Administrative Claims have been satisfied or paid, and assuming the amount of
             the checks that have not been claimed and/or cashed within the Claiming Period is
             less than ten thousand dollars ($10,000), the Liquidating Agent may distribute any
             and all such funds to the American Bankruptcy Institute as a charitable
             contribution.

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               (b)    Upon the expiration of the Claiming Period, the Holder of an Allowed
               Claim previously entitled to Unclaimed Property shall cease to be entitled to a
               Distribution and the Unclaimed Property shall immediately be revested in the
               Liquidating Debtor.

               (c)     The Unpaid Claims Reserve may be maintained in an interest bearing
               account. No Holder entitled to funds from the Unpaid Claims Reserve shall be
               entitled to interest with regard to the amounts due.

        4.04 Authorizations. The entry of the Confirmation Order shall constitute authorization
of the Debtor to take or cause to be taken any action necessary or appropriate to consummate the
provisions of this Plan, and all such actions taken or caused to be taken shall be deemed to have
been authorized and approved by the Bankruptcy Court.

        4.05 Objections to Claims. The Liquidating Debtor shall file objections to any Claim
no later than thirty (30) days after the Effective Date (the “Claims Objection Deadline”), subject
to the right of the Liquidating Debtor to seek entry of an order by the Bankruptcy Court, after
notice and a hearing, further extending the period to file objections to Claims. Any objection to a
Claim may be settled after the settling parties provide Designated Notice of the proposed
settlement and there are no timely objections, and such Claim shall become an Allowed Claim
without (i) further notice to any parties, and (ii) without the approval of the Bankruptcy Court. In
the event of an objection, the Bankruptcy Court shall resolve the objection after notice and
hearing.

       4.06 Disputed Claims. In the event that an objection to a Claim is pending so that the
Claim is a Disputed Claim, the Liquidating Agent shall not make any Distributions on account of
such Claim until the Claim is an Allowed Claim. Once a Disputed Claim becomes an Allowed
Claim, the Liquidating Agent shall pay on account of such Allowed Claim all Distributions to
which such Allowed Claim would have been entitled had the Claim been an Allowed Claim
when such Distributions were payable.

        4.07 Avoidance Actions and Causes of Action. Avoidance Actions and Causes of
Action, other than rights, claims or causes of action of the Debtor against any individual officer
or director that is an Insider (as defined in Section 101 of the Bankruptcy Code) and that is not
retained or employed by IDSY, were included in the Purchased Assets acquired by IDSY. On
March 6, 2019, the Committee and R. Fenton-May executed a Stipulation and Tolling
Agreement Extending Statute of Limitations pursuant to which, among other things, the deadline
for the filing of any Avoidance Actions or other similar actions against R. Fenton-May was
extending through June 4, 2019. The Committee has not identified any such actions, and because
the Restoration Payment has been received, the Committee will not prosecute any such actions.

       4.08 Employment of Professionals. The Liquidating Agent, on behalf of the
Liquidating Debtor, shall be entitled to employ such additional professionals as may be

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necessary after the Effective Date, including, but not limited to, the professionals employed by
the Debtor and Committee prior to the Effective Date.

                                            Article V

                              IMPLEMENTATION OF THE PLAN

       5.01    Revesting of Assets. All property of the estate shall vest with the Liquidating
Debtor on the Confirmation Date free and clear of Liens.

       5.02    (a)     The Distribution Fund. Funds in the Distribution Fund shall be used to pay
               the following items in the priority indicated:

               (1)     First, to pay, or to make a reasonable reserve for payment of, any and all
                       unpaid Administrative Claims and Professional Fee Claims;

               (2)     Second, Pro Rata to the Holders of General Unsecured Claims until such
                       Holders receive the amounts in full the amounts as set forth in Article
                       3.01, subject to any necessary reserves provided herein; and

               (3)     Third, and only after the Holders of Class 1 Claims receive payment in full
                       of the amounts provided in Article 3.01, Pro Rata to the Interest Holders

       (b)     When calculating Distributions, the Liquidating Agent shall make reserves for
               anticipated Post-Confirmation Administrative Claims, Post-Confirmation
               Professional Fees, and amounts otherwise payable with respect to a Disputed
               Claim.

       (c)     The initial Distribution from the Distribution Fund shall occur as soon as
               reasonably practicable after the Effective Date. If there are reserves for Disputed
               Claims as provided below, the final Distribution shall occur as reasonably
               practicable after a Final Order is entered on the last pending Disputed Claim.

        5.03 Joint and Several Liability. Confirmation of the Plan shall not affect the joint and
several liability of any codefendant, co-obligor, guarantor, or other entity that may be liable with
the Liquidating Debtor, and such liability shall continue unabated to the extent of applicable non-
bankruptcy law. Nothing herein shall be deemed to affect any right of subrogation to which any
guarantor may be entitled under applicable non-bankruptcy law.

        5.04 Temporary Injunction. The Confirmation Order shall operate as an injunction
against any acts against the Liquidating Debtor and its assets to initiate, prosecute, enforce,
liquidate, collect or otherwise assert any Claim against the Liquidating Debtor and its assets
except as provided in this Plan. Any act in violation of this provision shall be null and void.


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                                            Article VI

          EFFECT OF CONFIRMATION; VESTING OF PROPERTY; DISCHARGE

        6.01 Effect of Confirmation. This Plan shall be binding on all parties in interest upon
the Effective Date. Notwithstanding any provision that may be interpreted to the contrary, entry
of the Confirmation Order shall not amend, modify, release, discharge, waive, or otherwise affect
any of the Closing Obligations, it being the intent of the Plan that all Closing Obligations survive
confirmation and remain in full force and effect.

        6.02 Discharge. Pursuant to Section 1141(d)(1) of the Bankruptcy Code, the Debtor
shall not receive a discharge upon entry of the Confirmation Order confirming the Plan.

                                           Article VII

                               RETENTION OF JURISDICTION

       7.01 Notwithstanding confirmation of this Plan or the Effective Date having occurred,
the Bankruptcy Court shall retain jurisdiction for the following purposes:

       (a)     Determination of any objections to requests for payment of Administrative
               Claims, including Professional Fee Claims, whether such objections are filed
               before or after the Effective Date of the Plan;

       (b)     Adjudication of any actions brought by or against the Debtor in the Bankruptcy
               Court before the Effective Date of the Plan;

       (c)     Resolution of controversies and disputes regarding the interpretation and
               implementation of this Plan, including the determination of defaults under the
               Plan;

       (d)     Implementation of the provisions of this Plan and entry of orders in aid of
               confirmation of this Plan;

       (e)     Determination of any tax liabilities pursuant to Section 505 of the Bankruptcy
               Code.

        7.02 In the event that the Bankruptcy Court is found to lack jurisdiction to resolve any
matter, then such matter shall be heard and determined by the District Court for the Northern
District of Georgia (the “District Court”). If the District Court does not have jurisdiction, then
the matter may be brought before any Court having jurisdiction with regard thereto.

      7.03 The Bankruptcy Court may, upon application of the Liquidating Debtor after
Designated Notice, determine that this Plan has been substantially consummated within one-

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hundred twenty (120) days after the Confirmation Date. In such event, the Bankruptcy Court
may enter an order closing this case pursuant to Section 350 of the Bankruptcy Code, provided,
however, that: (a) the Liquidating Debtor shall continue to have the rights, powers, and duties set
forth in this Plan; and (b) the Bankruptcy Court may from time to time reopen the case if appro-
priate for the purpose of enforcing provisions of the Plan or supervising its implementation, or
for other cause.

                                           Article VII

                                   MODIFICATION OF PLAN

        This Plan may be modified pursuant to Section 1127 of the Bankruptcy Code and as
herein provided, to the extent permitted by applicable law. The Plan may be modified, before or
after confirmation, without notice or hearing, or on such notice and hearing as the Bankruptcy
Court deems appropriate, if the Bankruptcy Court finds that the modification does not materially
and adversely affect the rights of any parties which have not had notice and an opportunity to be
heard with regard thereto. Without limiting the generality of the foregoing, the Plan may be
modified after notice and hearing to an entity that requested notice pursuant to Bankruptcy Rule
2002(i). In the event of any modification on or before confirmation, any votes to accept or reject
the Plan shall be deemed to be votes to accept or reject the Plan as modified, unless the
Bankruptcy Court finds that the modification materially and adversely affects the rights of
parties which have cast said votes.

                                        ARTICLE VIII

                REQUEST FOR CONFIRMATION PURSUANT TO § 1129(b)

       In the event that all requirements for confirmation are met except the provisions of
Section 1129(a)(8) of the Bankruptcy Code, the Debtor requests that the Plan be confirmed
pursuant to Section 1129(b) of the Bankruptcy Code.

       Dated: June 25, 2019
                                                     LAMBERTH, CIFELLI,
                                                     ELLIS & NASON, P.A.

                                                     By: /s/ G. Frank Nason, IV
                                                            G. Frank Nason, IV
                                                            Georgia Bar No. 535160
1117 Perimeter Center West
Suite N313
Atlanta, Georgia 30338
(404) 262-7373

Counsel for the Debtor

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                                                  LAW OFFICES OF HENRY F. SEWELL,
                                                  JR., LLC

                                                  By: /s/ Henry F. Sewell, Jr.
                                                          Henry F. Sewell, Jr.
                                                          Georgia Bar No. 636265
2964 Peachtree Road NW
Suite 555
Atlanta, Georgia 30305
Direct: (404) 926-0053
hsewell@sewellfirm.com

Counsel for the Official Committee of Unsecured Creditors

                                                  -and-

                                                  PACHULSKI STANG ZIEHL
                                                  & JONES LLP

                                                  By: /s/ Bradford J. Sandler
                                                          Bradford J. Sandler
                                                          (DE Bar No. 4142)
                                                          Colin R. Robinson
                                                          (DE Bar No. 5524)
919 North Market Street
17th Floor P.O. Box 8705
Wilmington, DE 19899 (Courier 19801)
(302) 652-4100
bsandler@pszjlaw.com
crobinson@pszjlaw.com

Counsel for the Official Committee of Unsecured Creditors




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